      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-1189
                      Lower Tribunal No. F20-13505
                          ________________


                               Frank Kain,
                                  Appellant,

                                     vs.

                          The State of Florida,
                                  Appellee.



      An Appeal from the Circuit Court for Miami-Dade County, Milton
Hirsch, Judge.

      Carlos J. Martinez, Public Defender, and Manuel Alvarez, Assistant
Public Defender, for appellant.

      Ashley Moody, Attorney General, and Sandra Lipman, Senior
Assistant Attorney General, for appellee.


Before SCALES, GORDO and GOODEN, JJ.

     PER CURIAM.
     Affirmed. See Williams v. Florida, 399 U.S. 78, 90 S.Ct. 1893, 26

L.Ed.2d 446 (1970) (holding Florida’s use of six-member jury in non-capital

cases does not violate the Sixth Amendment right to trial by jury).




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